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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                             )
TIKTOK INC., et al.,                         )
                                             )
                              Plaintiffs,    )
                                             )
                      v.                     )    Civil Action No. 1:20-CV-2658-CJN
                                             )
DONALD J. TRUMP, in his official capacity as )
President of the United States, et al.,      )
                                             )
                              Defendants.    )
__________________________________________)


    DEFENDANTS’ SUPPLEMENTAL MEMORANDUM REGARDING LACK OF
     IRREPARABLE HARM DUE TO EXISTING NATIONWIDE INJUNCTION
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       Pursuant to the Court’s Minute Order of Nov. 4, 2020, Defendants respectfully submit this

supplemental memorandum explaining why, due to the existing nationwide injunction entered in

Marland v. Trump, No. 2:20-cv-04597 (E.D. Pa.), Plaintiffs here cannot demonstrate the

irreparable harm necessary for this Court to enter a duplicative preliminary injunction.

       1. To obtain a preliminary injunction, a plaintiff must demonstrate irreparable harm absent

the injunction. See, e.g., Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C.

Cir. 2006) (“To warrant preliminary injunctive relief, the moving party must show . . . it would

suffer irreparable injury if the injunction were not granted[.]”). Such irreparable harm must be

proven through evidence. See Wisconsin Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985)

(“Bare allegations of what is likely to occur are of no value since the court must decide whether

the harm will in fact occur.”).

       Here, Plaintiffs cannot demonstrate irreparable harm because the existing nationwide

injunction from the Eastern District of Pennsylvania already provides the exact same relief that

Plaintiffs seek here—i.e., an injunction against enforcement of the Secretary of Commerce’s

Prohibitions 2-5. Compare Marland, ECF No. 36 (enjoining the Government from enforcing the

Commerce Identification, including Prohibitions 2-5), with Pls.’ Renewed PI Mot. (ECF No. 43)

at 1 (requesting “preliminary injunctive relief enjoining the implementation or enforcement of

Prohibitions 2–5 on the list of prohibited transactions”). Because a separate court has already

provided Plaintiffs with the exact same relief that they seek here, there is necessarily no irreparable

harm warranting a duplicative preliminary injunction here.

       Indeed, to the extent Plaintiffs contend that they are still suffering harm notwithstanding

the injunction entered by the Eastern District of Pennsylvania, that only underscores why

duplicative relief is inappropriate here. If one nationwide injunction is insufficient to redress




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Plaintiffs’ claimed harms, there is no reason to think that a second injunction would fare any better

at redressing those harms. At a minimum, Plaintiffs have not submitted any evidence proving that

an additional preliminary injunction here would have any meaningful effect.

       To be sure, the Government is entitled to appeal the Marland preliminary injunction, see

28 U.S.C. § 1292(a)(1), and the Government may well do so if the Acting Solicitor General

determines to authorize such an appeal, see 28 C.F.R. § 0.20(b). That the Government may appeal

or seek a stay of that injunction does not change the analysis, however, because the question is

whether Plaintiffs at present have established irreparable harm—not whether future contingencies

may occur such that Plaintiffs may suffer irreparable harm. See, e.g., Winter v. NRDC, 555 U.S.

7, 22 (2008) (courts should not “[i]ssu[e] a preliminary injunction based only on a possibility of

irreparable harm” (emphasis added)); Wisconsin Gas Co., 758 F.2d at 674. And if such a future

contingency arose—for instance, if the Government were to appeal and the Third Circuit were to

vacate that injunction—this Court and the parties here could react with dispatch if necessary, but

with the benefit of a persuasive (even if not binding) court of appeals decision.

       2.    Consistent with the above principles, courts have frequently declined to enter

preliminary injunctive relief when there is already a nationwide injunction affording the relief

sought. As mentioned at the recent hearing, in the context of challenges to the President’s order

restricting entry of certain foreign nationals, several courts declined to consider additional requests

for injunctive relief after nationwide injunctions had already been entered—notwithstanding

pending appeals of those injunctions. See, e.g., Pars Equality Ctr. v. Trump, No. 17-cv-255

(D.D.C.) (Chutkan, J.), ECF No. 84 at 2 (May 11, 2017) (“The existence of two other nationwide

injunctions temporarily casts uncertainty on the issue of whether the harms Plaintiffs allege are

actually imminent or certain.”); Int’l Refugee Assistance Project v. Trump, 2017 WL 1315538,




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at *2 (D. Md. Apr. 10, 2017) (“[I]n light of the current nationwide injunction . . . by the United

States District Court of the District of Hawaii, a stay would not impose any hardship on Plaintiffs

or result in irreparable harm.”); Hawai‘i v. Trump, 233 F. Supp. 3d 850, 853 (D. Hawaii 2017).

       Likewise, in recent challenges to certain Postal Service actions, the District of Maryland

denied duplicative relief “in the absence of any clear explanation from Plaintiffs regarding why

the current injunctions imposed on Defendants are insufficient to address the harm.” Nat’l Urban

League v. DeJoy, No. 20-cv-2391, 2020 WL 6363959, at *11 (D. Md. Oct. 29, 2020). And in

recent litigation pertaining to construction of a physical barrier along the United States’ southern

border, a district court declined to provide injunctive relief that “was duplicative of the relief the

district court had already granted” in a separate matter, and the Ninth Circuit held that the decision

not to provide duplicative relief “was certainly not an abuse of discretion.” California v. Trump,

963 F.3d 926, 949 (9th Cir. 2020). That was true even where the duplicative relief had later been

stayed by a higher court. See id.

       Of course, there are also cases where courts have continued to grant overlapping

nationwide injunctions. But those cases fail to reconcile the relief entered with the aforementioned

equitable principles. Indeed, the recent “explo[sion] in popularity” of nationwide injunctions—

with the corresponding effect of “preventing legal questions from percolating through the federal

courts”—only highlights why such nationwide injunctions are inappropriate in the first instance.

Trump v. Hawaii, 138 S. Ct. 2392, 2425, 2429 (2018) (Thomas, J., concurring). But because the

Court in Marland rejected those arguments and entered a nationwide injunction, Plaintiffs cannot

show that they are facing immediate, certain irreparable harm, and thus there is no basis for entry

of additional, duplicative injunctive relief. The Court can, and should, deny Plaintiffs’ renewed

motion for a preliminary injunction on this basis alone.




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Dated: November 6, 2020            Respectfully submitted,

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